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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Edward Williams
                                            Plaintiff,
v.                                                          Case No.: 1:23−cv−03961
                                                            Honorable Andrea R. Wood
Northeastern Illinois University, et al.
                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 11, 2024:


        MINUTE entry before the Honorable Andrea R. Wood: For the reasons stated in
the accompanying Memorandum Opinion and Order, Defendants' motion to dismiss [15]
is granted. Plaintiff's complaint is dismissed without prejudice. He is granted leave to file
an amended complaint that remedies the pleading deficiencies with respect to the federal
claims by 6/25/2024. If Plaintiff declines to file an amended complaint by that date, his
federal claims will be dismissed with prejudice and final judgment will be entered in favor
of Defendants. In light of this ruling, the parties' agreed motion for a confidentiality order
[30] is denied as moot. Mailed notice (aw,)




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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